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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

City of Chicago
                           Plaintiff,
v.                                                Case No.: 1:19−cv−04547
                                                  Honorable Virginia M. Kendall
Jussie Smollett
                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 15, 2024:


        MINUTE entry before the Honorable Virginia M. Kendall. Status hearing held on
8/15/2024 and continued for 2/5/2025 at 9:30 AM. Case shall remain stayed. Mailed
notice(lk, )




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